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                                             EXHIBIT 1

                       ESI Form of Production / Load File Specifications

    A. Form of Production

         The parties agree to make all reasonable efforts to produce documents in accordance with

the specifications identified in this document. As set forth with greater particularity

below, some ESI will be produced in native format, while PDF-format and hardcopy documents

will be produced in single-page TIFF format (300 DPI resolution) with a delimited DAT file

containing the metadata fields outlined in Attachment 1, accompanied by an Opticon (OPT)

cross-reference file and corresponding document-level extracted text. Before making a

production that does not conform to these specifications, the producing party shall meet and

confer with the receiving party to explain why the production will not conform and explore

alternative formats. The Commission uses the Relativity suite of e-Discovery software.

    1. Email and User-Created Files

         The parties agree to make all reasonable efforts to produce documents in accordance with

the specifications identified in this section.

         Email will be produced in single-page TIFF format (300 DPI resolution) with a delimited

DAT file containing the metadata fields outlined in Attachment 1, accompanied by

an Opticon (OPT) cross-reference file and corresponding document-level extracted text.

         All spreadsheet and presentation files (e.g. Excel, PowerPoint) shall be produced in

native format with an associated placeholder image. All hidden text (e.g. track changes, hidden

columns, mark-ups, notes) shall be expanded and rendered in the image file. All non-graphic

embedded objects (Word documents, Excel spreadsheets, .wav files, etc.) that are found within a

file shall be extracted and produced. For purposes of production, the embedded files shall be

treated as attachments to the original file, with the parent/child relationship preserved. Any data


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(whether individual files or digital containers) that is protected by a password, encryption key,

digital rights management, or other encryption scheme, shall be decrypted prior to processing for

production, to the extent possible.

         2.     Social Media

         Prior to any production of responsive data from social media (e.g. Twitter, Facebook,

LinkedIn, etc.), the producing party shall discuss the potential export formats.

         3.     Redacted Documents

         Documents that contain redactions, including any associated family members, will be

produced in single-page TIFF format (300 DPI resolution) with corresponding document-level

extracted text and a delimited DAT file containing the metadata fields outlined in Attachment

1 to the extent that such metadata fields are not part of the redaction. To the extent a party deems

production of redacted TIFF images of Excel spreadsheets significantly degrades the usability of

the document, the parties agree to meet and confer regarding alternate production methodologies

of the redacted information.

         4.     Structured Data: Database Systems

         Information from structured database systems shall be produced through existing report

formats available in the associated applications, including but not limited to Microsoft Excel

spreadsheet or delimited text format, if available. If a receiving party believes that the format of

a produced report is inadequate or does not fully respond to a discovery request, the parties agree

to meet and confer regarding other methods to produce responsive information from the

Database Systems.

         5.     Paper Documents

         Documents kept in paper format in the usual course of business shall be produced in




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scanned and logically unitized format. Scanning shall be to single-page, TIFF Group IV,

300 dots per inch (dpi). Each page shall include the Bates/PageID number at the bottom of the

page. The file name for the TIFF image shall be the Bates/PageID Number. Scanned documents

shall also be converted into searchable text using optical character recognition (OCR),

extracted and saved as a text file named with the Bates/PageID Number. The OCR shall include

the Bates/PageID number for each page. The load file (see A.8 below) shall include a field for

the OCR/Text file path and a CPL/CPT.

         6.     PDF Files

         Documents kept in PDF format in the usual course of business shall be produced in

logically unitized format. Such documents shall not be combined, merged, or otherwise joined if

they are not so organized in the usual course of business. Files usually maintained in a different

file type, but converted to PDF format and produced, will not be accepted.

         7.     “Logically Unitized” Defined

         “Logically unitized” means that all pages that belong together as a document, and only

those pages, are produced as one document, with relationships such as parent and child

attachments maintained. Documents that are bulk-scanned to non-unitized files will not be

accepted.

         8.     Load File

         Each production shall be accompanied by a delimited-load file in .DAT format that

establishes the proper document breaks and maintains the parent/child relationships

(BegAttach and EndAttach). The load file shall use the delimiters identified

below and include all applicable data for the fields identified in Attachment 1.




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                      Value   Character ASCII
                                        Number
                      Column     ¶       020
                      Quote      þ       254
                      Newline    ®       174
                      Multi-      ;      059
                      Value
                      Nested      \      092
                      Value


The load file should be accompanied by an Opticon (OPT) cross-reference file that references

one Bates number per line.

B. Transmission and Delivery

         1.     Volumes and Folders

         Provide separate folders for images, text, and load files. Provide a Volume Number

identifier for each production that is unique and runs in succession from the last volume

produced (e.g. VOL001, VOL002, VOL003).

         2.     Acceptable Means of Delivery

         Where possible, productions should be delivered by electronic means. Productions to

EEOC may be delivered by file-sharing services such as Drop Box or Hightail by sending the

download link to LitSupport@eeoc.gov with a CC:

to markus.penzel@eeoc.gov and marcia.gordon@eeoc.gov. Productions of less than 40MB

total may be emailed to LitSupport@eeoc.gov with a CC:

to markus.penzel@eeoc.gov and marcia.gordon@eeoc.gov. Productions greater than 40 MB, or

split into multiple emails whose collective size is greater than 40 MB, will not be accepted by

email.




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         Where production to EEOC by electronic means is not feasible, productions may be

saved to external media (CD/DVD, USB drive, external HDD drive) and delivered by UPS or

FedEx to the following address:

                US EEOC
                OGC\LMS\LitSupport
                Attn: Amanda Beckerink or Richard Van Nelson
                131 M Street, NE
                5th Floor
                Washington, D.C. 20507

Delivery by U.S. Postal Service is not sufficient, because USPS deliveries are subjected to X-

RAY security scanning, which damages data stored on external media.

         3.     Encryption

Productions may be encrypted using WinZip or PKWare. The Commission will not accept

productions that require the installation of other applications to read the data or remove

encryption.




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